          Case 1:21-cv-00337-RKE Document 83               Filed 04/26/23     Page 1 of 44




             IN THE UNITED STATES COURT OF INTERNATIONAL TRADE



H&E HOME, INC. et aL,

                          Plaintiffs and
                          Consolidated Plaintiffs,       Before: Hon. Richard K. Eaton,
                                                                  Judge
                  and

KINGTOM ALUMINIO S.R.L.,                                 Consol. Court No. 21-00337


                          Plaintiff-Intervenor,

                  V.



UNITED STATES,

                          Defendant,

                  and

THE ALUMINUM EXTRUSIONS FAIR
TRADE COMMITTEE,

                          Defendant-Intervenor.



                                               ORDER

         Upon    consideration   of    Defendant-Intervenor   Aluminum      Extrusions   Fair   Trade

  Committee's ("AEFTC's") Rule 56.2 Motion for Judgment on the Agency Record and the

  accompanying comments in opposition to the remand redetermination, and upon all other papers

  filed and proceedings had herein, it is hereby

         ORDERED that AEFTC's motion is granted; and it is further

         ORDERED that the remand redetermination issued by U.S. Customs and Border

  Protection ("CBP") in EAPA Consolidated Case No. 7423 is arbitrary, capricious, an abuse of

  discretion, and otherwise not in accordance with law; and it is further
         Case 1:21-cv-00337-RKE Document 83         Filed 04/26/23   Page 2 of 44




         ORDERED that this action is remanded to CBP for proceedings consistent with this

Court's opinion.



Dated:
          New York, New York                     Hon. Richard K. Eaton, Judge
        Case 1:21-cv-00337-RKE Document 83                Filed 04/26/23     Page 3 of 44




           IN THE UNITED STATES COURT OF INTERNATIONAL TRADE



H&E HOME, INC. et aL,

                           Plaintiffs and
                           Consolidated Plaintiffs,         Before: Hon. Richard K. Eaton,
                                                                    Judge
                   and

KINGTOM ALUMINIO S.R.L.,                                    Consol. Court No. 21-00337


                           Plaintiff-Intervenor,

                   V.


UNITED STATES,

                           Defendant,

                   and

THE ALUMINUM EXTRUSIONS FAIR

TRADE COMMITTEE,

                           Defendant-Intervenor.




   ALUMINUM EXTRUSIONS FAIR TRADE COMMITTEE'S RULE 56.2 MOTION
                      FOR JUDGMENT ON THE AGENCY RECORD


       Pursuant to Rule 56.2 of the Rules of the United States Court of International Trade

("CIT"), Defendant-Intervenor Aluminum Extrusions Fair Trade Committee ("AEFTC"), by and


through its attorneys, respectfully moves for judgment on the agency record with respect to the


remand redetermination issued by U.S. Customs and Border Protection ("CBP") in EAPA

Consolidated Case No. 7423, with respect to the antidumping and countervailing duty orders on


aluminum extrusions from the People's Republic of China. Remand Redetermination, H&E Home,


Inc. and Classic Metal Suppliers, et. al v. United States, Court No. 21-00337 (Court of International


Trade Jan. 4, 2023), EAPA Cons. Case No. 7423 (Jan. 10, 2023), ECF No. 73 ("Remand").
           Case 1:21-cv-00337-RKE Document 83               Filed 04/26/23       Page 4 of 44

Consol. Ct. No. 21-00337


      AEFTC respectfully moves, for the reasons explained in the accompanying comments in


   opposition to the remand redetermination, that this Court find that CBP's remand redetermination was

   arbitrary, capricious, and an abuse of discretion. AEFTC further moves that the Court remand this


   determination to CBP for disposition consistent with the Court's opinion in this matter.




                                                        Respectfully submitted,


                                                        /s/ Robert E. DeFrancesco, 11I
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                                                        Committee



      Dated: April 25, 2023
       Case 1:21-cv-00337-RKE Document 83             Filed 04/26/23        Page 5 of 44

                                                               NON-CONFIDENTIAL VERSION


           IN THE UNITED STATES COURT OF INTERNATIONAL TRADE




H&E HOME, INC. et al.,

                        Plaintiffs and
                        Consolidated Plaintiffs,

                  and

KINGTOM ALUMINIO S.R.L.,                              Before: Hon. Richard K. Eaton,
                                                              Judge
                        Plaintiff-Intervenor,
                                                      Consol. Court No. 21-00337
                  V.

                                                      NON-CONFIDENTIAL VERSION
UNITED STATES,
                                                      Business Proprietary Information
                        Defendant,
                                                      Removed from Pages: 11-12, 15-18,
                                                      24-29
                  and

THE ALUMINUM EXTRUSIONS FAIR
TRADE COMMITTEE,

                        Defendant-Intervenor.




 ALUMINUM EXTRUSION FAIR TRADE COMMITTEE '
                                         S COMMENTS
         IN OPPOSITION TO THE REMAND REDETERMINATION




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                                                   Trade Committee
Dated: April 25, 2023
           Case 1:21-cv-00337-RKE Document 83             Filed 04/26/23    Page 6 of 44

Consol. Ct. No. 21-00337                                            NON-CONFIDENTIAL VERSION


                                        TABLE OF CONTENTS

                                                                                           Page

    I.     INTRODUCTION                                                                       1

    II.    BACKGROUND                                                                         1

    III.   ISSUES PRESENTED AND SUMMARY OF ARGUMENTS                                          2

    IV.    STANDARD OF REVIEW                                                                 4

    V.     STATEMENT OF RELEVANT FACTS                                                        6

    VI.    ARGUMENT                                                                          14

           A.    Regulations and Rulings Reversed the Initial Determination of
                 Evasion Based on the Same Evidence that it Previously Found to
                  Support Evasion                                                            14

                  1.       Regulations and Rulings Relied on the Same Evidence to
                           Reach Opposite Conclusions about Kingtom's Production
                           Activity                                                          16

                 2.        Regulations and Rulings Relied on the Same Ties to China
                           to Reach the Opposite Conclusion                                  19

                  3.       Conclusion                                                        20

           B.    Regulations and Rulings' New Determination That There is Not
                  Substantial Evidence of Evasion is Erroneous                               20

                  1.       Regulations and Rulings is Incorrect that the Widespread
                           Discrepancies in Kingtom's Records Do Not Provide
                           Substantial Evidence of Evasion                                   21

                 2.        Regulations  and    Rulings'   Factual    Findings   Are
                           Unsupported by the Record                                         23

           C.    CBP Acted Arbitrarily in Not Applying Adverse Inferences
                 Against Parties that Refused to Provide Requested Information               30

    VII.   CONCLUSION                                                                        34




                                                   1
             Case 1:21-cv-00337-RKE Document 83                 Filed 04/26/23     Page 7 of 44

Consol. Ct. No. 21-00337                                                 NON-CONFIDENTIAL VERSION


                                        TABLE OF AUTHORITIES

                                                                                                  Page(s)

    Cases

    Ala. Aircrcft Indus., Inc. v. United States,
        586 F.3d 1372 (Fed. Cir. 2009)                                                                  5

    Altx, Inc. v. United States,
        370 F.3d 1108 (Fed. Cir. 2004)                                                              7, 22

    Diamond Tools Tech. LLC v. United States,
        609 F.Supp.3d 1378 (Ct. Int'l Trade 2022)                                                       6

    Motor Vehicle 11/ifrs. Ass 'n cf the U.S., Inc. v. State Farm Mut. Auto. Ins. Co.,
        463 U.S. 29 (1983)                                                                              5

    Royal Brush 11/ifg., Inc. v. United States,
        483 F.Supp.3d 1294 (Ct. Int'l Trade 2020)                                                     31

    Royal Brush 11/ifg., Inc. v. United States,
        545 F.Supp.3d 1357 (Ct. Int'l Trade 2021)                                                     31

    SKF USA Inc. v. United States,
        263 F.3d 1369 (Fed. Cir. 2001)                                                                  5

    Star Fruits S.N.C. v. United States,
        393 F.3d 1277 (Fed. Cir. 2005)                                                                  6

    Wheatland Tube Co. v. United States,
        161 F.3d 1365 (Fed. Cir. 1998)                                                                  5

    Statutes

    19 U.S.C. §1517(a)(5)                                                                               7

    19 U.S.C. § 1517(c)                                                                                 7

    19 U.S.C. §1517(c)(3)                                                                             22

    19 U.S.C. §1517(c)(3)(A)                                                                          30

    19 U.S.C. §1517(c)(3)(C)                                                                          30

    19 U.S.C. §1517(f)                                                                                  8

    19 U.S.C. § 1517(g)                                                                                 5
           Case 1:21-cv-00337-RKE Document 83              Filed 04/26/23    Page 8 of 44

Consol. Ct. No. 21-00337                                           NON-CONFIDENTIAL VERSION


    Trade Facilitation and Trade Enforcement Act of 2015 Title IV, Section 421                    6

    Trade Facilitation and Trade Enforcement Act of 2015 Title IV, Section 411                    6

    Regulations

    19 C.F.R. § 165.1                                                                             6

    19 C.F.R. § 165.5(a)                                                                         17

    19 C.F.R. § 165.41                                                                             8

    Administrative Materials

    Aluminum Extrusions from the Pecple's &public cf China,
       76 Fed. Reg. 30,650 (Dep't Commerce May 26, 2011)                                      6, 15

    Aluminum Extrusions from the Pecple's &public cf China,
       76 Fed. Reg. 30,653 (Dep't Commerce May 26, 2011)                                    6, 7, 15

    Letter from Trade Remedy & Law Enforcement Directorate, CBP Office of
       Trade, re: Notice cf Initiation cf Investigation and Interim Measures —EAPA
       Cons. Case 7348 (Feb. 5, 2020)                                                              8

    Letter from Trade Remedy Law Enforcement Directorate, CBP Office of Trade,
        re: Notice cf Determination as to Evasion (Nov. 2, 2020)                              8, 20

    Letter from Trade Remedy Law Enforcement Directorate, CBP Office of Trade,
        re: Notice cf Initiation cf Investigation and Interim Measures —EAPA Case
       7550 (May 10, 2021)                                                                        9

    Letter from Regulations & Rulings, Office of Trade, U.S. Customs & Border
       Protection, re: Erforce and Protect Act ("LAPA") Consolidated Case Number
       7348; Aluminum Extrusions from the Pecple's &public cf China:
       Antidumping Duty Order, 76 FR 30650 (May 26, 2011) and Aluminum
       Extrusions from the Pecple's &public cf China: Countervailing Duty Order,
       76 FR 30653 (May 26, 2011); Florida Aluminum Extrusion, LLC; Global
       Aluminum Distributor, LLC; Hialeah Aluminum Stipply, Inc.; 19 U.S.C.
       1517 (Mar. 18, 2021)                                                                     8, 9

    Letter from Trade Remedy Law Enforcement Directorate, CBP Office of Trade,
       re: Notice cf Determination as to Evasion (Feb. 4, 2022) (Feb. 4, 2022)                9, 10
           Case 1:21-cv-00337-RKE Document 83           Filed 04/26/23    Page 9 of 44

Consol. Ct. No. 21-00337                                         NON-CONFIDENTIAL VERSION


    Letter from Regulations and Rulings, Office of Trade, U.S. Customs and Border
        Protection, re: Erforce and Protect Act ("LAPA') Case Number 7550;
        Aluminum Extrusions from the Pecple's &public cf China: Antidumping Duty
        Order, 76 FR 30650 (May 26, 2011) and Aluminum Extrusions from the
        Pecple's &public cf China: Countervailing Duty Order, 76 FR 30653 (May
        26, 2011); Kingtom Aluminio SRL; 19 U.S.C. § 1517 (June 29, 2022)                10




                                                11
             Case 1:21-cv-00337-RKE Document 83                      Filed 04/26/23    Page 10 of 44

Consol. Ct. No. 21-00337                                                     NON-CONFIDENTIAL VERSION


    I.       INTRODUCTION

             On behalf of Defendant-Intervenor the Aluminum Extrusions Fair Trade Committee


    ("AEFTC"), we respectfully submit the following comments in opposition to U.S. Customs and


    Border    Protection's    ("CBP"        or    "Customs")    remand    redetermination.      See   Remand


    Redetermination, H&E Home, Inc. and Classic Metal Stippliers, et. al v. United States, Court


    No. 21-00337 (Court of International Trade Jan. 4, 2023), EAPA Cons. Case No. 7423 (Jan. 10,

    2023), ECF No. 73 ("Remand").


    II.      BACKGROUND

             This action arises out of a determination of evasion made by CBP, Office of Trade

    ("OT"), Trade Remedy Law Enforcement Directorate ("TRLED") pursuant to 19 U.S.C.


    §1517(c) in a consolidated Enforce and Protect Act ("EAPA") investigation into imports of


    aluminum extrusions made by H&E Home Inc. ("H&E"), Classic Metals Suppliers ("Classic"),

    Global    Aluminum       Distributor,        LLC   ("Global"),   Industrias   Feliciano   Aluminum   Inc.


    ("Industrias"), JL Trading Corp.             ("JL"), and Puertas y Ventanas J.M., Inc. ("Puertas")

    (collectively, the "Importers") from Kingtom Aluminio SRL ("Kingtom") in the Dominican


    Republic ("D.R."), with respect to the antidumping and countervailing duty orders on aluminum


    extrusions from the People's Republic of China ("China"), EAPA Consolidated Case Number

    7423, which was affirmed by CBP, OT, Regulations and Rulings ("R&R") in a de novo


    administrative view pursuant to 19 U.S.C. § 1517(f). See Remand at 1-4; Letter from Brian M.

    Hoxie, Director, Enft Operations Division, Trade Remedy Law Enforcement Directorate, CBP


    Office of Trade, re: Notice cf Determination as to Evasion (Jan. 28, 2021) ("TRLED


    Determination"), C.R. 824, P.R. 684; Letter from Paul Pizzeck, Chief, Penalties Branch,


    Regulations & Rulings, Office of Trade, U.S. Customs & Border Protection, re: Erforce and




                                                            1
           Case 1:21-cv-00337-RKE Document 83               Filed 04/26/23     Page 11 of 44

Consol. Ct. No. 21-00337                                              NON-CONFIDENTIAL VERSION


    Protect Act ("EAPA') Consolidated Case Number 7423; Aluminum Extrusions from the

    Pecple's Republic cf China: Antidumping Duty Order, 76 FR 30650 (May 26, 2011) and

    Aluminum Extrusions from the Pecple's &public cf China: Countervailing Duty Order, 76 FR

    30653 (May 26, 2011); Florida Aluminum Extrusion, LLC; Global Aluminum Distributor, LLC;

    Classic Metals Stippliers; Industrias Feliciano Aluminum, Inc.; JL Trading Coy.; Puertas y

    Ventantas, 1M., Inc.; H&E Home; 19 U.S.C. § 1517 (June 4, 2021) ("R&R Determination"),

    P.R. 712. 1 These determinations were not published in the Federal Register.

    III.   ISSUES PRESENTED AND SUMMARY OF ARGUMENTS

           A.     Whether Regulations and Rulings' Reversal of the Initial Determination of
                  Evasion Based on the Same Evidence that it Previously Found to Support
                  Evasion Is Arbitrary, Capricious, and An Abuse of Discretion?

           Yes. R&R relied on most, if not all, of the same evidence that it initially found to support

    afinding of evasion to reach the opposite conclusion. First, R&R relied on the same evidence

    that it initially found to indicate both that Kingtom had minimal production activity and that

    Kingtom's production records are unreliable to conclude in the remand that Kingtom's

    production records are reliable and that Kingtom produced the claimed aluminum extrusions.

    Second, while R&R initially found Kingtom's ties to China, including the circumstances of

    Kingtom's establishment in the D.R., Kingtom's ownership, nationality of employees, and

    sourcing of equipment and supplies, to support afinding of evasion, in the remand R&R decided

    that the same ties to China do not demonstrate evasion.     But R&R failed to provide sufficient

    justification for treating the same evidence differently. R&R summarily decided that the same


             "P.R." denotes the document number identified in the Public Version and Public
    Document Index for the administrative record filed in this action on Jan. 25, 2022, ECF No. 54.
    "C.R." denotes the document number identified in the Business Confidential Index for the
    administrative record filed in this action on January 25, 2022, ECF No. 53. "P.R.R." denotes the
    document number identified in the Public Document Index for the remand administrative record
    filed in this action on January 25, 2023, ECF No. 77.



                                                    2
            Case 1:21-cv-00337-RKE Document 83               Filed 04/26/23      Page 12 of 44

Consol. Ct. No. 21-00337                                                  NON-CONFIDENTIAL VERSION


    evidence does not demonstrate evasion, without providing a rational explanation, or made

    findings that are unreasonable and unsupported by the record. R&R failed to consider the facts

    and its own prior findings directly contradicting its new position.

            B.      Whether Regulations and Rulings' New Determination that There is Not
                    Substantial Evidence of Evasion is Erroneous?

            Yes.    R&R incorrectly reverses itself to conclude that the discrepancies in Kingtom's

    records do not provide substantial evidence of evasion.           These were not minor clerical

    deficiencies but rather, widespread discrepancies involving issues directly relevant to evaluating

    Kingtom's production capability and actual production —the heart of the issue in this case — such

    as production activity, suppliers and input purchases, raw materials, financial transactions, size

    capabilities.   These discrepancies meant that there was no reliable evidence that Kingtom

    produced the claimed extrusions and constituted substantial evidence that Kingtom did not

    actually produce the claimed extrusions, as R&R initially found.              TRLED initiated the

    investigation because there was evidence that Kingtom could not have produced all the

    aluminum extrusions entered into the United States. The Importers' defense was that Kingtom

    did produce all the extrusions but failed to support this claim.         CBP was not obligated to

    affirmatively determine that Kingtom used Chinese extrusions; rather it was Kingtom's burden to

    prove that it did not supplement its production with Chinese extrusions, which it was unable to

    do because of the numerous gaps in the record.

            R&R failed to grapple with the record evidence and made an unreasonable judgment in

    weighing the relevant factors, and its decision is arbitrary, capricious, and an abuse of discretion.

    In addition, in dismissing these discrepancies, R&R makes factual findings that are contradicted

    by the record, and it erroneously filled the gap by drawing conclusions where the evidence does

    not support these conclusions.    R&R incorrectly concluded that certain discrepancies were not



                                                      3
           Case 1:21-cv-00337-RKE Document 83               Filed 04/26/23     Page 13 of 44

Consol. Ct. No. 21-00337                                              NON-CONFIDENTIAL VERSION


    discrepancies, or it did not actually analyze the issue. This also renders R&R's remand arbitrary,

    capricious, and an abuse of discretion.

           C.      Whether CBP Acted Arbitrarily in Not Applying Adverse Inferences Against
                   Parties That Refused to Provide Requested Information?

           Yes.   In conducting its remand proceeding, CBP required all parties to submit revised

    public versions of their submissions made in the investigation that contained confidential

    information to   include public summaries with sufficient detail to permit a reasonable

    understanding of the substance of the bracketed information, to comply with the agency's

    regulations at 19 C.F.R. § 165.4(a)(2). The underlying investigation was conducted before CBP

    had fully imposed its revised practice with respect to public summaries to comply with certain

    holdings of this Court.   TRLED rejected certain parties' submissions because they failed to

    include public summaries that satisfied the requirements of 19 C.F.R. §165.4(a)(2) and provided

    them with an opportunity to correct the deficiencies. These parties refused to submit corrected

    public versions, despite multiple opportunities. Despite this clear failure to cooperate, CBP did

    not apply adverse inferences against these parties.   CBP's refusal to do so, while requiring the

    other parties to expend the resources to submit the requested documents, was arbitrary,

    capricious, and an abuse of discretion.

    IV.    STANDARD OF REVIEW

           19 U.S.C. § 1517(g)(2) states that in determining whether a determination of evasion

    under 19 U.S.C. § 1517(c) or administrative review under 19 U.S.C. § 1517(f) of the

    determination of evasion is conducted in accordance with those subsections, the Court shall

    examine (1) whether Customs fully complied with all procedures under 19 U.S.C. § 1517(c) and

    (f) and (2) whether any determination, finding, or conclusion is arbitrary, capricious, an abuse of

    discretion, or otherwise not in accordance with law. See 19 U.S.C. §1517(g).




                                                    4
           Case 1:21-cv-00337-RKE Document 83                Filed 04/26/23     Page 14 of 44

Consol. Ct. No. 21-00337                                              NON-CONFIDENTIAL VERSION


           The statute does not define arbitrary and capricious. The U.S. Court of Appeals for the

    Federal Circuit ("Federal Circuit") has stated that "{c}ourts have found an agency's decision to

    be arbitrary and capricious when the agency 'entirely failed to consider an important aspect of

    the problem, offered an explanation for its decision that runs counter to the evidence before the

    agency, or the decision is so implausible that it could not be ascribed to adifference in view or

    the product of agency expertise." Ala. Aircrcft Indus., Inc. v. United States, 586 F.3d 1372,

    1375 (Fed. Cir. 2009) (quoting Motor Vehicle 11/ifrs. Ass'n cf the U.S., Inc. v. State Farm Mut.

    Auto. Ins. Co., 463 U.S. 29, 43 (1983)). "Courts look for areasoned analysis or explanation for

    an agency's decision as away to determine whether aparticular decision is arbitrary, capricious,

    or an abuse of discretion." Wheatland Tube Co. v. United States, 161 F.3d 1365, 1369 (Fed. Cir.

    1998) (citing Burlington Truck Lines, Inc. v. United States, 371 U.S. 156, 167-68, 83 S. Ct. 239,

    245, 9L.Ed.2d 207 (1962)). While "{t}he scope of review under the 'arbitrary and capricious'

    standard is narrow and acourt is not to substitute its judgment for that of the agency," the agency

    must have "examine {d} the relevant data and articulate {d} a satisfactory explanation for its

    action including a 'rational connection between the facts found and the choice made." Motor

    Vehicle 11/ifrs. Ass'n, 463 U.S. at 43 (quoting Burlington Truck Lines v. United States, 371 U.S. at

    168). In addition, "{a}n agency action is arbitrary when the agency offers insufficient reasons

    for treating similar situations differently." SKF USA Inc. v. United States, 263 F.3d 1369, 1382

    (Fed. Cir. 2001).

           The Federal Circuit has also explained that "{a}n abuse of discretion occurs where the

    decision is based on an erroneous interpretation of the law, on factual findings that are not

    supported by substantial evidence, or represents an unreasonable judgment in weighing relevant




                                                     5
              Case 1:21-cv-00337-RKE Document 83            Filed 04/26/23   Page 15 of 44

Consol. Ct. No. 21-00337                                              NON-CONFIDENTIAL VERSION


    factors."    Star Fruits S.N.C. v. United States, 393 F.3d 1277, 1281 (Fed. Cir. 2005) (citing


    Arnold P 'ship v. Dudas, 362 F.3d 1338, 1340 (Fed. Cir. 2004)).

              The Court also reviews the remand results "for compliance with the court's remand


    order."     See Diamond Tools Tech. LLC v. United States, 609 F.Supp.3d 1378 (Ct. Intl Trade


    2022) (citing Bejing Tianhai Indus. Co. v. United States, 106 F.Supp.3d 1342, 1346 (Ct. Int'l


    Trade 2015)).


    V.        STATEMENT OF RELEVANT FACTS

              On May 26, 2011, U.S. Department of Commerce issued the antidumping ("AD") and

    countervailing duty ("CVD") orders on aluminum extrusions from the People's Republic of


    China (the "Orders"). Aluminum Extrusions from the Pecple's &public cf China, 76 Fed. Reg.

    30,650 (Dep't Commerce May 26, 2011) (antidumping duty order) ("AD Order"); Aluminum


    Extrusions from the Pecple's Republic cf China, 76 Fed. Reg. 30,653 (Dep't Commerce May 26,

    2011) (countervailing duty order) ("CVD Order").


              The Enforce and Protect Act, Title IV, Section 421 of the Trade Facilitation and Trade


    Enforcement Act of 2015 was signed into law on February 24, 2016, to amend the Tariff Act of

    1930 to add procedures for CBP to investigate claims of evasion of AD/CVD orders.         Trade


    Facilitation and Trade Enforcement Act of 2015 ("TFTEA"), Title IV, Section 421, codified at


    19 U.S.C. § 1517 ("EAPA").        Congress expanded CBP's ability to investigate evasion and


    protect U.S. Government revenue. The TFTEA mandated the creation of aTrade Remedy Law

    Enforcement Division within the OT, dedicated to the development and administration of


    policies to prevent and counter evasion, including policies related to the implementation of


    EAPA, among other responsibilities.     Title IV, Section 411 of the TFTEA; see also 19 C.F.R.


    §165.1 (explaining that "TRLED" refers to "the Trade Remedy Law Enforcement Directorate,




                                                    6
           Case 1:21-cv-00337-RKE Document 83                 Filed 04/26/23      Page 16 of 44

Consol. Ct. No. 21-00337                                                NON-CONFIDENTIAL VERSION


    Office of Trade, that conducts the investigation of alleged evasion under {19 C.F.R. §165}, and

    that was established as required by section 411 of the EAPA.").

           EAPA directs CBP to decide, based on "substantial evidence," whether merchandise

    covered by an AD/CVD order ("covered merchandise") was entered into the customs territory of

    the United States through evasion.      19 U.S.C. § 1517(c).      "Evasion" is defined as "entering

    covered merchandise into the customs territory of the United States by means of any document

    or electronically transmitted data or information, written or oral statement, or act that is material

    and false, or any omission that is material, and that results in any cash deposit or other security or

    any amount of applicable {AD} or {CVD} duties being reduced or not applied with respect to

    the merchandise." 19 U.S.C. § 1517(a)(5). "Substantial evidence" is not defined in the statute.

    However, CBP has relied on Federal Circuit case law finding that "substantial evidence means

    such relevant evidence as areasonable mind might accept as adequate to support aconclusion."

    TRLED Determination at 5 n.23 (citing A.L. Patterson, Inc. v. United States, 585 Fed. App'x

    778, 781-82 (Fed. Cir. 2014) (quoting Consol. Edison Co. cf N.Y. v. NLRB, 305 U.S. 197, 229

    (1938)); R&R Determination at 4 (citing A.L. Patterson, Inc. v, 585 Fed. App'x at 781-82

    (quoting Consol. Edison Co. cf N.Y., 305 U.S. at 229).        Substantial evidence is "more than a

    mere scintilla," but "less than the weight of the evidence." Altx, Inc. v. United States, 370 F.3d

    1108,1116 (Fed. Cir. 2004).

           Following adetermination of evasion, the statute provides for an administrative review

    process by which CBP will conduct ade novo review of the determination if requested by the

    interested party that filed the allegation that resulted in the initiation of the investigation, or the

    interested party determined to have entered the covered merchandise through evasion.




                                                      7
           Case 1:21-cv-00337-RKE Document 83              Filed 04/26/23     Page 17 of 44

Consol. Ct. No. 21-00337                                             NON-CONFIDENTIAL VERSION


    19 U.S.C. § 1517(f).      CBP's implementing regulations of EAPA tasked R&R with the


    responsibility of conducting the administrative review. See 19 C.F.R. § 165.41.

           In addition to the underlying investigation, there were two EAPA investigations


    involving imports of extrusions from Kingtom Aluminio SRL ("Kingtom") in the D.R.          First,


    prior to this investigation, on February 5, 2020, TRLED published notice of its initiation of an


    EAPA investigation against Global Aluminum Distributor, LLC ("Global"); Florida Aluminum


    Extrusion, LLC ("Florida"); and Hialeah Aluminum Supply, Inc. ("Hialeah"), with respect to

    their imports of extrusions from Kingtom.     Letter from Trade Remedy & Law Enforcement

    Directorate, CBP Office of Trade, re: Notice cf Initiation cf Investigation and Interim Measures


    — EAPA Cons. Case 7348 (Feb. 5, 2020) ("EAPA 7348 NOI"), C.R. 850, P.R. 740 at 1.            The


    allegation was filed by Ta Chen International Inc. ("Ta Chen"), an importer of Chinese

    extrusions. Id. at 2.   On November 2, 2020, TRLED published its final determination, finding


    substantial evidence that the investigated importers imported Chinese-origin extrusions that were

    transshipped through the D.R.    Letter from Trade Remedy Law Enforcement Directorate, CBP


    Office of Trade, re: Notice cf Determination as to Evasion (Nov. 2, 2020) ("EAPA 7348 TRLED

    Determination"), C.R. 809, P.R. 673 at 1. R&R affirmed this determination in full on March 18,


    2021. Letter from Regulations & Rulings, Office of Trade, U.S. Customs & Border Protection,

    re: Erforce and Protect Act ("EAPA') Consolidated Case Number 7348; Aluminum Extrusions


   from the Pecple's &public cf China: Antidumping Duty Order, 76 FR 30650 (May 26, 2011)


    and Aluminum Extrusions from the Pecple's &public cf China: Countervailing Duty Order, 76


    FR 30653 (May 26, 2011); Florida Aluminum Extrusion, LLC; Global Aluminum Distributor,


    LLC; Hialeah Aluminum Stipply, Inc.; 19 U.S.C. § 1517 (Mar. 18, 2021) ("EAPA 7348 R&R

    Determination") at 13, available at https://www.cbp goy/do cument/pub lications/e ap a-case-7348-




                                                    8
           Case 1:21-cv-00337-RKE Document 83              Filed 04/26/23        Page 18 of 44

Consol. Ct. No. 21-00337                                                NON-CONFIDENTIAL VERSION


    global-aluminum-distributor-11c-florida-aluminum-extrusion-0.        The period of investigation


    ("POI") for EAPA 7348 was October 9, 2018 through November 2, 2020. Id. at 4.

           In April 2022, in aconsolidated action in this Court instituted by Global and Hialeah to


    challenge the determination in EAPA 7348, the U.S. Department of Justice ("Government") filed


    amotion for avoluntary remand for CBP to reconsider the decision, which the Court granted.


    Memorandum and Order, Global Aluminum Distributor LLC et al. v. United States, Consol.


    Court No. 21-00198 (Ct. Intl Trade Aug. 8, 2022), ECF No. 102 at 5. 2 In response, CBP

    reversed the initial finding and filed its remand with the Court in June 2022.       Id.   No party

    contested the draft remand before the agency or the final remand before the Court, and this Court


    sustained the remand on August 8, 2022. Id. at 5-6.


           Second, following this investigation, on May 10, 2021, TRLED published its notice of

    initiation of an EAPA investigation against Kingtom as the importer. Letter from Trade Remedy


    Law Enforcement Directorate, CBP Office of Trade, re: Notice cf Initiation cf Investigation and

    Interim Measures — EAPA Case 7550 (May 10, 2021) ("EAPA 7550 NOI") at 1, available at


    https://www.cbp .
                    gov/s ites/default/files/as sets/do cuments/2021-May/05 -10-2021%20-


    %20TRLED-


    Notice%20of%20Initiation%20and%20Interim%20Measures%20%28508%20compliant%29%2

    0%287550%29%20-%2OPV 0.pdf.            On   February   4,   2022,    TRLED     published   its   final

    determination, finding substantial evidence that Kingtom imported Chinese-origin extrusions that


    were commingled or transshipped through the D.R.             Letter from Trade Remedy Law


    Enforcement Directorate, CBP Office of Trade, re: Notice cf Determination as to Evasion (Feb.

    4,   2022)     ("EAPA       7550     TRLED       Determination")        at    1,   available       at



    2
           AEFTC was not aparty to this action and could not participate.



                                                   9
             Case 1:21-cv-00337-RKE Document 83              Filed 04/26/23          Page 19 of 44

Consol. Ct. No. 21-00337                                                   NON-CONFIDENTIAL VERSION


    https://www.cbp.gov/document/


    pub lications/eap a-case-7550-kingtom-aluminio-srl-notic e-determination-evasion-february-5 .

    R&R reversed this determination on June 9, 2022. 3 Letter from Regulations and Rulings, Office


    of Trade, U.S. Customs and Border Protection, re: Erforce and Protect Act ("LAPA') Case


    Number 7550; Aluminum Extrusions from the Pecple's Republic cf China: Antidumping Duty


    Order, 76 FR 30650 (May 26, 2011) and Aluminum Extrusions from the Pecple's &public cf


    China: Countervailing Duty Order, 76 FR 30653 (May 26, 2011); Kingtom Aluminio SRL; 19

    U.S.C.        §      1517       (June      29,        2022)       at       11,       available   at

    https://www.cbp gov/do cument/pub lic ations/eap a-case-7550-kingtom-aluminio-srl-final-


    administrative-decision-june-29.     The POI for EAPA 7550 was January 8, 2020 through


    February 4, 2022. Id. at 4.

             On January 27, 2020, TRLED initiated this investigation against Classic Metals Suppliers


    ("Classic"); Industrias Feliciano Aluminum, Inc. ("Industrias"); Global; Florida; H&E Home

    ("H&E"); JL Trading Corp. ("JL"); and Puertas y Ventanas J.M., Inc. ("Puertas") for their


    imports of extrusions from Kingtom, in response to an allegation by AEFTC. EAPA 7423 NOI,

    C.R. 58, P.R. 59 at 1.


             AEFTC provided, among other evidence, the following information:


             • Evidence indicating that Kingtom did not have the capability to produce the types of


                extrusions exported (size and finishing), see Allegation Narrative (Dec. 16, 2019),


                C.R. 1, P.R. 1, at 10-15; Allegation Exhibits (Dec. 16, 2019), C.R. 811, P.R. 676 at

                Exhibits 3, 9, or the capacity to produce the volume exported, based on the operating




    3
             This proceeding is being challenged before this Court.



                                                     10
           Case 1:21-cv-00337-RKE Document 83               Filed 04/26/23   Page 20 of 44

Consol. Ct. No. 21-00337        BUSINESS PROPRIETARY INFORMATION     NON-CONFIDENTIAL VERSION
                                         HAS BEEN DELETED


              machinery Kingtom appeared to have during the relevant periods.        See Allegation

              Narrative at 15-19, Allegation Exhibits at Exhibits 3, 9.

           • Evidence indicating that the volume of Kingtom's exports of extrusions exceeded the

              volume that could have been produced during the relevant periods based on the

              quantity of billets that Kingtom could have produced from the volume of raw material

              imports (scrap aluminum and primary aluminum) into the D.R. during the relevant

              timeframe (assuming that all these imports were consumed by Kingtom).              See

              Allegation Narrative at 19-22.    Billets are produced in a cast house using primary

              aluminum and scrap and then extruded into profiles on an extrusion press. Id. at 19,

              Allegation Exhibits at Exhibit 3. Because there is no primary aluminum production

              in the D.R. and very little scrap aluminum, both must be imported.          Allegation

              Narrative at 19, Allegation Exhibits at Exhibit 3.


           • Evidence indicating that Chinese exports of extrusions to the D.R. had increased

              significantly since the time of Kingtom's establishment in the D.R., which did not

              align with the small size of the market for extrusions in the D.R. Allegation Narrative

              at 7-9, Allegation Exhibits at Exhibit 7.

           • Evidence regarding Kingtom's pricing structure, which further indicated evasion. For

              instance, [




                                                                          ]Kingtom's prices are [

                   ]percent lower than [

                                                     ].   In addition, AEFTC provided a cost model

              analysis of products similar to those that Kingtom appeared to have sold, reflecting




                                                    11
           Case 1:21-cv-00337-RKE Document 83                 Filed 04/26/23      Page 21 of 44

Consol. Ct. No. 21-00337         BUSINESS PROPRIETARY INFORMATION       NON-CONFIDENTIAL VERSION
                                          HAS BEEN DELETED


               what it would cost an extruder in the D.R. to produce those products, which suggested

               that Kingtom was selling at prices substantially lower than its costs. Having managed

               [                                                               ]it was not possible to

               produce and sell extrusions at Kingtom's prices, providing further evidence indicating

               that Kingtom was supplementing any production with transshipped Chinese product.

               Allegation Narrative at 22-23; Allegation Exhibits at Exhibit 3.

           Throughout the     investigation the   Importers    filed   questionnaire   responses   and/or

    supplemental questionnaire responses. TRLED Determination at 3. For Florida and Global and

    claimed foreign manufacturer Kingtom, because these parties had filed questionnaire responses

    in EAPA 7348, CBP placed those responses on the record of this investigation because the

    investigations ran concurrently and to avoid issuing duplicative questionnaires. 4 Id.          CBP

    advised these parties that it would be doing so, to no objection. Id.    TRLED placed additional

    documents from EAPA 7348 on the record of this investigation, to which the Importers filed

    rebuttal information. Id. at 4. The parties also filed voluntary submissions of factual information

    and rebuttal submissions, as well as written arguments and response arguments. Id. at 3-4.

           On January 28, 2021, TRLED issued adetermination, finding substantial evidence that

    the Importers imported from Kingtom Chinese-origin extrusions that were commingled or

    transshipped through the D.R. Id. at 1. On March 12, 2021, the Importers each filed arequest

    for administrative review of the initial determination, to which AEFTC responded on March 30,

    2021. R&R Determination at 5. On June 4, 2021, R&R issued ade novo review determination,

    affirming TRLED's determination in full. Id. at 14.




    4    TRLED issued supplemental questionnaires to Florida and Global in this investigation.
    TRLED Determination at 3.



                                                    12
           Case 1:21-cv-00337-RKE Document 83               Filed 04/26/23      Page 22 of 44

Consol. Ct. No. 21-00337                                              NON-CONFIDENTIAL VERSION


           The Importers (H&E and Classic; Global; and Industrias, JL, and Puertas) each

    challenged CBP's final determination, which were consolidated into the instant action. 5 See

    Order (Aug. 3, 2021), ECF No. 15.      On October 13, 2021, Kingtom was granted the status of

    plaintiff-intervenor in this action. Order (Oct. 13, 2021), ECF No. 33. On August 5, 2022, prior

    to any party filing a Rule 56.2 motion for judgment, the United States filed a motion for a

    voluntary remand.    Def.'s Mot. for Voluntary Remand (Aug. 5, 2022), ECF No. 65.              The

    Importers and Kingtom consented to the relief requested, while AEFTC opposed the motion See

    id. This Court granted the Government's motion on September 7, 2022. Order (Sept. 7, 2022),

    ECF No. 70 ("Remand Order").

           In the remand proceeding, TRLED requested that parties file revised public versions of

    the submissions made in the underlying investigation.     Remand at 7-11. TRLED provided the

    parties with the opportunity to submit rebuttal factual information and written arguments

    regarding the revised public versions.     Id. at 11.   TRLED also transmitted to R&R record

    documents that were inadvertently omitted when the record was originally transferred to R&R

    for its administrative review.   R&R did not request any new information.         id. at 13.   On

    December 2, 2022, CBP released a draft remand to the parties, with TRLED addressing

    procedural aspects of the remand and R&R addressing the evasion determination.          id. at 20.

    AEFTC, Industrias, JL, and Puertas filed comments on the draft remand. Remand at 20. CBP

    filed the final remand with this Court on January 10, 2023. See id. at 1.




    5       The underlying investigation also covered importer Florida. However, Florida did not
    appeal and because Florida does not have any unliquidated entries that were subject to the
    investigation, CBP explained that its remand does not concern Florida. See Remand at 1.



                                                    13
            Case 1:21-cv-00337-RKE Document 83                Filed 04/26/23     Page 23 of 44

Consol. Ct. No. 21-00337                                                NON-CONFIDENTIAL VERSION


    VI.     ARGUMENT

            R&R's reversal of TRLED's determination of evasion and its own de novo administrative

    review determination affirming TRLED's decision is arbitrary, capricious, and an abuse of

    discretion. The agency relied on most, if not all, of the same evidence that it initially relied on to

    find evasion but reached the opposite conclusion without sufficient justification.          The new

    determination that there is not substantial evidence of evasion is erroneous.      R&R is incorrect

    that the widespread discrepancies in Kingtom's records cannot provide substantial evidence of

    evasion. And in dismissing such discrepancies, R&R made factual findings that are unsupported

    by the record.    Lastly, CBP acted arbitrarily in not applying adverse inferences against parties

    that refused to provide requested information in the remand proceeding.

            A.       Regulations and Rulings Reversed the Initial Determination of Evasion
                     Based on the Same Evidence that it Previously Found to Support Evasion

            R&R's remand is arbitrary, capricious, and an abuse of discretion because the agency

    relied on most, if not all, of the same evidence that it initially found to support a finding of

    evasion.'      R&R failed to provide sufficient justification for treating the same evidence

    differently.    The agency summarily decided that the same evidence does not demonstrate

    evasion, without providing arational explanation, or made findings that are unreasonable and

    unsupported by the record.

            In the underlying     investigation,   TRLED     reviewed   a massive     record   containing

    submissions by the seven investigated importers, Kingtom, and AEFTC. TRLED Determination

    at 2-5. TRLED found alarge number of discrepancies on awide range of critical issues that both

    undermined the reliability of Kingtom's submissions as awhole and indicated that Kingtom did


    6        While Regulations and Rulings identifies certain documents that were omitted from the
    record transmitted to it for its initial administrative review, it did not cite any of these documents
    in its analysis. Remand at Addendum, p. 2. n.2.



                                                      14
           Case 1:21-cv-00337-RKE Document 83               Filed 04/26/23       Page 24 of 44

Consol. Ct. No. 21-00337         BUSINESS PROPRIETARY INFORMATION     NON-CONFIDENTIAL VERSION
                                          HAS BEEN DELETED


    not actually manufacture in the D.R. all the extrusions exported to United States. TRLED found

    discrepancies with respect to      Kingtom's production     capacity   and    capabilities,   supplier

    information, invoices, and payments. Id. at 17. TRLED reasonably concluded that "the record

    does not contain sufficient evidence to support the volume and type of extrusions actually

    produced by Kingtom in the D.R. during the POI." Id.        TRLED then appropriately relied on

    record evidence of Kingtom's ties to China to find that extrusions imported from Kingtom

    include transshipped or commingled Chinese extrusions. Id.           This evidence included the

    circumstances of Kingtom's establishment in the D.R. ;7 trade data showing increasing exports of

    Chinese extrusions to the D.R., which was not in line with the size of the market for extrusions in

    the D.R.; 8 Kingtom's employees' history with Chinese extruders; 9 Kingtom's strong ties to




    7
           TRLED explained, for instance, that Kingtom officials [

                           ]. TRLED reasoned that given that Chinese extrusions are subject to AD
    duties of up to 86.01 percent and CVD duties of up to 7.37 percent, Kingtom had sufficient
    reason to disguise the country of origin of its aluminum extrusions. TRLED Determination at 5-
    6.

    8       AEFTC provided data for HS codes 7604.21, 7604.29, and 7608.20, which are the six-
    digit codes covering HTS subheadings identified in the original orders. See Allegation Exhibits
    at Exhibit 7; AD Order at 30,651; CVD Order at 30,654. In other words, these codes likely
    cover asubstantial volume of merchandise subject to the orders. The Importers provided D.R.
    import data for HTS numbers allegedly used by Kingtom and its customers and argued that
    Chinese imports into the free trade zones, where Kingtom is located, were minimal and that this
    demonstrates that no transshipment occurred. Importers' Written Arguments (Dec. 28, 2020),
    C.R. 821, P.R. 681 at 3-5; Importers' VFI Submission (Aug. 28, 2020), C.R. 391-406, P.R. 410-
    421 at Part III, Exhibit S-3. However, the Importers provided the data starting only in 2018, and
    did not provide data prior to that period. Importers' VFI Submission at Part III, Exhibit S-3.
    Also, the data does not account for merchandise that may have been classified under adifferent
    HTS number. Lastly, that Chinese-origin aluminum extrusions may have been imported into the
    D.R. outside of the free trade zones does not mean that Kingtom could not have obtained any
    such extrusions.
    9      TRLED found that Kingtom's Vice President of Production Director is a former
    employee of Minfa Aluminum ("Minfa") of 25 years and was previously Minfa's head engineer,
    that Minfa is aproducer of aluminum extrusions in China, and that the relationship means that


                                                    15
            Case 1:21-cv-00337-RKE Document 83               Filed 04/26/23      Page 25 of 44

Consol. Ct. No. 21-00337         BUSINESS PROPRIETARY INFORMATION     NON-CONFIDENTIAL VERSION
                                          HAS BEEN DELETED


    Chinese companies and suppliers; and the lack of explanation as to what materials were sold by

    the [        ] suppliers to Kingtom.      Id.    TRLED's finding of evasion was supported by

    substantial evidence, as R&R initially agreed.

            R&R agreed that the record did not support a finding that Kingtom produced all the

    extrusions exported to the United States during the POI. R&R Determination at 13. And given

    that the record does not provide enough evidence to support the Importers' claims of Kingtom's

    actual production in relation to the quantity of extrusions sold, R&R explained that the question

    of where the extrusions may have otherwise come from arises.         Id. at 14.   R&R agreed that

    Kingtom has strong ties to China, and that "when looking at the totality of the circumstances

    regarding evidence of Kingtom's actual production levels coupled with Kingtom's affiliations

    with China, afinding of evasion due to the commingling of Chinese-origin extrusions with D.R.-

    origin extrusions is supported by substantial evidence in the record." Id.

                   1.      Regulations and Rulings Relied on the Same Evidence to Reach
                           Opposite Conclusions about Kingtom's Production Activity

            R&R initially relied on the following evidence to find that while the record might suggest

    that Kingtom had the ability to manufacture extrusions it exported, it does not demonstrate that

    Kingtom did manufacture in those quantities. See R&R Determination at 13-14.

            R&R initially found information submitted by Kingtom and the U.S. Government to

    show that Kingtom had minimal production activity and also found various production-related

    documentation from Kingtom to call into question whether Kingtom actually produced according

    to the levels suggested in those documents — with some claiming that Kingtom had production

    that did not show up in other documents, some suggesting that equipment was used on



    Minfa could be a potential supplier of transshipped Chinese aluminum extrusions.          TRLED
    Determination at 7.



                                                      16
           Case 1:21-cv-00337-RKE Document 83                Filed 04/26/23    Page 26 of 44

Consol. Ct. No. 21-00337            BUSINESS PROPRIETARY INFORMATION   NON-CONFIDENTIAL VERSION
                                             HAS BEEN DELETED


    days/shifts for which other records indicated there was no such production, and some suggesting

    that some machines were used on dates before that machinery even went into operation.

           • R&R found the facility photographs and videos from Kingtom to not indicate

               production levels that would match the volume of extrusions exported, noting that the

               videos (which were several minutes long) did not evidence a significant number of

               employees working different machines and showed some equipment sitting idle.

               R&R Determination at 13.


           • R&R also noted that U.S. Government officials observed minimal production during

               their site visit. Id. '°

           • In addition, R&R found that Kingtom's daily production records corroborated that

               Kingtom's extrusion presses did not operate at anywhere near full capacity. Id. R&R

               found affidavits provided by certain importers with respect to site visits unreliable in

               assessing whether Kingtom manufactured the total volume exported. Id.

           • R&R explained that Kingtom's mold information indicated the use of specific presses

               on dates preceding when Kingtom's equipment list stated that those presses went into

               operation. Id.


           • R&R found that the mold information contained additional data that did not align

               with the production records, including work group numbers that did not appear on the




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           [

                                     ]. Attache Report at 4. TRLED placed this report on the record
    of the investigation. CBP's regulations state that in obtaining information necessary to conduct
    EAPA proceedings, the agency "may employ any means authorized by law. In general, CBP
    will obtain information from its own files, from other agencies of the United States Government,
    through questionnaires and correspondence, and through field work by its officials." See 19
    C.F.R. §165.5(a).


                                                      17
           Case 1:21-cv-00337-RKE Document 83               Filed 04/26/23    Page 27 of 44

Consol. Ct. No. 21-00337         BUSINESS PROPRIETARY INFORMATION       NON-CONFIDENTIAL VERSION
                                          HAS BEEN DELETED


                production records and, at times, stating that the mold was used on days/shifts where

                the production records indicated that no such production occurred. Id.

           In the remand, R&R decided that this same evidence does not support evasion.        R&R

    found the U.S. Government report to be unreliable because it did not opine on Kingtom's

    production capabilities or capacity and was not accompanied by visual evidence. Remand at 7.

    But contrary to R&R's suggestion, the U.S. Government's report did not need visual evidence to

    be reliable. And that this site visit was not done for the express purpose of analyzing Kingtom's

    production capacity and capabilities does not undermine the fact that even then minimal

    production was observed.     See R&R Determination at 13.       [

                                                                                          ]. Attaché

    Report (Jan. 28, 2020), C.R. 14, P.R. 14 at 5.

           R&R changed its mind and now broadly characterizes Kingtom's production records as

    complete and indicating that Kingtom had the capacity and capability to produce all the

    extrusions exported, citing daily production records, videos, and photographs, among other

    records.   See Remand at 4-8.    But R&R previously found Kingtom's records, including daily

    production records, videos, and photographs, to be unreliable or to show minimal production, as

    discussed above.

           And R&R's conclusion in the remand that Kingtom's daily production records and

    documentation have not been shown to be unreliable is incorrect." id. at 4, 5. R&R itself found

    these very records to be unreliable.    As discussed above, R&R found that Kingtom's mold

    information indicated the use of specific presses on dates preceding when Kingtom's equipment



    1
    1       The daily production records that Regulations and Rulings references are [
             ]by Kingtom listing certain information. Remand at 4; Kingtom RFI Response (Dec.
    11, 2020), C.R. 682-769, P.R. 665-668 at 27, Exhibit 21.



                                                     18
           Case 1:21-cv-00337-RKE Document 83               Filed 04/26/23    Page 28 of 44

Consol. Ct. No. 21-00337                                             NON-CONFIDENTIAL VERSION


    list stated that those presses went into operation. R&R Determination at 13. R&R also found

    that the mold information contained data that did not align with the production records, including

    work group numbers that did not appear on the production records and, at times, stating that the

    mold was used on days/shifts where the production records indicated that no such production

    occurred. Id.

           In sum, R&R took the evidence that it expressly relied on to find that Kingtom did not

    produce the extrusions exported and reached the opposite conclusion.

                    2.     Regulations and Rulings Relied on the Same Ties to China to Reach
                           the Opposite Conclusion

           After having found that the record does not support the Importers' claims with respect to

    Kingtom's production, R&R initially relied on Kingtom's ties to China to find substantial

    evidence that extrusions from Kingtom included transshipped Chinese extrusions.

           R&R noted that Kingtom is both owned by Chinese citizens and employs many Chinese

    citizens; has sourced both supplies and equipment from China; and was established and began

    operations around the same time that the D.R. established diplomatic ties with China.       R&R

    Determination at 14. R&R found that the record does not indicate that Kingtom has any such

    ties to other countries not subject to AD/CVD orders or that Kingtom has ties to other extruders

    in the D.R. that could have supplied additional merchandise to cover the full amount exported.

    Id.

           R&R now decides that there is not a strong enough connection between covered

    merchandise from China and Kingtom to support afinding of evasion. While acknowledging the

    same ties to China— e.g., Kingtom's ownership, nationality of employees, and sourcing of

    equipment and supplies —R&R simply concludes that this not negate the evidence of production

    in the D.R. to support a conclusion that Kingtom's exports included transshipped Chinese



                                                    19
           Case 1:21-cv-00337-RKE Document 83                Filed 04/26/23     Page 29 of 44

Consol. Ct. No. 21-00337                                              NON-CONFIDENTIAL VERSION


    extrusions. Remand at 8. R&R wholly failed to provide sufficient justification for treating the

    same evidence differently.

                   3.        Conclusion

           R&R's reversal of the initial determination is based on much, if not all, of the same

    evidence that it initially relied on to find evasion. But the justification that the agency provided

    for reaching the opposite conclusion was unreasonable, unsupported by the record, and wholly

    inadequate. This type of fickle administrative decision-making is the very definition of arbitrary

    and capricious.     That CBP previously found similar, and overlapping, evidence to demonstrate

    evasion in two other investigations involving Kingtom further renders the agency's change of

    mind arbitrary, capricious, and an abuse of discretion. See EAPA 7348 TRLED Determination;

    EAPA 7550 TRLED Determination. 12

           B.      Regulations and Rulings' New Determination That There is Not Substantial
                   Evidence of Evasion is Erroneous

           R&R incorrectly reverses itself to conclude that the discrepancies in Kingtom's records

    do not provide substantial evidence of evasion. There were widespread discrepancies involving

    issues directly relevant to evaluating Kingtom's production capability and actual production —

    the heart of the issue in this case. These discrepancies meant that there was no reliable evidence

    that Kingtom produced the claimed extrusions and constituted substantial evidence in support of

    a finding of evasion.     CBP was not required to affirmatively determine that Kingtom used

    Chinese extrusions. TRLED initiated the investigation having found evidence that indicated that

    extrusions from Kingtom included transshipped Chinese extrusions.         The Importers failed to


    12     In EAPA 7348, CBP reversed the initial evasion finding. No party contested the draft
    remand before the agency or the final remand before the Court, and this Court sustained the
    remand on August 8, 2022. In EAPA 7550, Regulations and Rulings reversed TRLED's
    determination of evasion in an administrative review. That determination is being challenged in
    this Court.



                                                    20
           Case 1:21-cv-00337-RKE Document 83              Filed 04/26/23    Page 30 of 44

Consol. Ct. No. 21-00337                                            NON-CONFIDENTIAL VERSION


    support their defense that Kingtom did produce all the extrusions that they imported. R&R failed

    to grapple with the record evidence and made an unreasonable judgment in weighing the relevant

    factors, and its decision is arbitrary, capricious, and an abuse of discretion.     R&R's factual

    findings in dismissing these discrepancies are unsupported by the record, and it erroneously

    filled the gap by drawing conclusions where the evidence does not support these conclusions.

    This also renders R&R's remand arbitrary, capricious, and an abuse of discretion.

                   1.        Regulations and Rulings is Incorrect that the Widespread
                             Discrepancies in Kingtom's Records Do Not Provide Substantial
                             Evidence of Evasion

           Throughout its remand R&R undermines the widespread discrepancies in Kingtom's

    records that TRLED discussed in detail in its initial determination, including those that R&R

    itself relied on to initially find evasion. See Remand at Addendum, p. 5.    Contrary to R&R's

    characterization, the discrepancies at issue are not minor deficiencies resulting from clerical

    errors or amisunderstanding of the information requested but rather, critical discrepancies that

    called into question the reliability of Kingtom's submissions as a whole and indicated that

    Kingtom did not produce the claimed extrusions.      There were discrepancies with respect to

    Kingtom's production and equipment usage records, supplier and input purchases, and

    accounting and payment. This meant that there was no reliable evidence that Kingtom produced

    the claimed extrusions. Widespread discrepancies in company records would not be expected for

    legitimate production. These discrepancies were evidence that Kingtom did not actually produce

    the claimedextrusions.

           TRLED was not required to further investigate these discrepancies.         The widespread

    discrepancies themselves constituted substantial evidence that Kingtom did not produce the

    claimed extrusions.




                                                   21
           Case 1:21-cv-00337-RKE Document 83                 Filed 04/26/23   Page 31 of 44

Consol. Ct. No. 21-00337                                              NON-CONFIDENTIAL VERSION


           R&R misunderstands the standard of review for the agency's investigation imposed by

    the statute. While the EAPA statute does not define "substantial evidence," CBP has relied on

    Federal Circuit case law finding that "substantial evidence means such relevant evidence as a

    reasonable mind might accept as adequate to support aconclusion." TRLED Determination at 3

    n.23 (citing A.L. Patterson, Inc. y, 585 Fed. App'x at 781-82 (quoting Consol. Edison Co. cf

    NY., 305 U.S. at 229)); R&R Determination at 4 (citing A.L. Patterson, Inc., 585 Fed. App'x at

    781-82 (quoting Consol. Edison Co. cf N.Y., 305 U.S. at 229)).      Substantial evidence is "more

    than amere scintilla," but "less than the weight of the evidence." Altx, Inc., 370 F.3d at 1116. 13

    As R&R explained in its initial determination, "{w} hile some evidence may detract from the

    determination, so long as the finding is reasonable and supported by the record as a whole,

    {TRLED's initial determination of evasion} must be affirmed."          R&R Determination at 12

    (citing Nucor Coil,. v. United States, 34 CIT 70, 72 (2010) (citing Nippon Steel Col p. v. United

    States, 458 F.3d 1345, 1352 (Fed. Cir. 2006)).       R&R effectively imposes ahigher standard of

    review —amounting to aclear and convincing standard.

           R&R also misunderstands the nature of the agency's investigation. TRLED initiated the

    investigation because there was evidence that Kingtom could not have produced all the

    extrusions entered into the United States. The Importers' defense was that Kingtom did produce

    all the extrusions. To prove this claim, the Importers (with Kingtom) needed to demonstrate that

    Kingtom's production records could be tied up without any gaps, to support the volume of

    extrusions that entered the United States. The widespread discrepancies mean that the Importers

    and Kingtom could not justify their defense.     They were unable to rebut TRLED 's findings.



    13      While TRLED did not apply adverse inferences, even when adverse inferences are
    applied, the statute does not require the agency to provide parties with an opportunity to correct
    deficiencies prior to the application. 19 U.S.C. §1517(c)(3).



                                                    22
           Case 1:21-cv-00337-RKE Document 83              Filed 04/26/23     Page 32 of 44

Consol. Ct. No. 21-00337                                            NON-CONFIDENTIAL VERSION


    CBP was under no obligation to affirmatively determine that Kingtom used Chinese extrusions.

    A respondent that denies an allegation and refuses to cooperate will never turn over damning

    evidence. As such, the agency will be forced to consider whether the target has complied with

    request to justify that it did manufacture what it claims, which the Importers and Kingtom could

    not do here.

           TRLED and R&R properly relied on these discrepancies in the first place to find evasion.

    As R&R initially explained, "when looking at the totality of the circumstances regarding

    evidence of Kingtom's actual production levels coupled with Kingtom's affiliations with China,

    a finding of evasion due to the commingling of Chinese-origin extrusions with D.R.-origin

    extrusions is supported by substantial evidence in the record." R&R Determination at 14.

           As such, R&R's broad dismissal of the discrepancies based on its claim that TRLED did

    not investigate further was in error.

                   2.      Regulations and Rulings' Factual Findings Are Unsupported by the
                           Record

           R&R's factual findings in now finding no          substantial evidence of evasion are

    unsupported by the record.     R&R incorrectly concludes that discrepancies that TRLED found

    were not discrepancies, or it did not actually analyze the issue.   These involve issues directly

    relevant to evaluating Kingtom's production capability and actual production, including supplier

    and input purchases, raw materials, production activity,       size capabilities,   and financial

    transactions, and provide substantial evidence that Kingtom did not produce the claimed

    extrusions.

           Suppliersduput Purchases

           Regulations and Ruling erred in dismissing discrepancies with respect to Kingtom's

    suppliers and purchases. These discrepancies meant that CBP could not actually confirm who all



                                                   23
           Case 1:21-cv-00337-RKE Document 83              Filed 04/26/23     Page 33 of 44

Consol. Ct. No. 21-00337        BUSINESS PROPRIETARY INFORMATION     NON-CONFIDENTIAL VERSION
                                         HAS BEEN DELETED


    Kingtom's suppliers were and what they provided to Kingtom. In other words, CBP could not

    confirm that Kingtom did not actually obtain Chinese extrusions from these suppliers. TRLED

    had found that Kingtom sources material and equipment from many companies located in

    [                                    ]. TRLED Determination at 7. But TRLED explained that

    due to discrepancies in Kingtom's submissions, it could not be certain who all of Kingtom's

    suppliers actually were and who supplied what type of materials to Kingtom.              TRLED

    Determination at 7.    For some suppliers, monetary transactions and proof of payment were

    missing.   Id.   For some suppliers the descriptions of what was supplied was [

                               ], and there was no evidence as to what was actually provided. Id.

    TRLED even found that the suppliers identified by Kingtom did not even overlap with those that

    Kingtom claimed to have paid. Id.

           In now questioning these findings, which was based on information submitted by

    Kingtom in EAPA 7348 that was placed on the underlying investigation's record, R&R opines

    that TRLED did not follow up with Kingtom in EAPA 7348 or issue any RFI to Kingtom in this

    investigation. Remand at Addendum, p. 9. As discussed above, these and other discrepancies

    provided substantial evidence that Kingtom did not manufacture the claimed extrusions, and

    TRLED was not required to investigate further.

           R&R suggests that the Importers provided information to resolve the discrepancies,

    explaining that the Importers provided arevised supplier list, which identified if Kingtom did not

    have any transactions with aspecific supplier during the POI, and that this was supported by a

    review of the transactions and bank statements provided by Kingtom in EAPA 7348. Remand at

    Addendum, p. 9. But this does not resolve the issue. R&R references atable provided by the

    Importers listing Kingtom's alleged transactions with suppliers during the POI.            Id.   at




                                                     24
           Case 1:21-cv-00337-RKE Document 83                Filed 04/26/23   Page 34 of 44

Consol. Ct. No. 21-00337        BUSINESS PROPRIETARY INFORMATION      NON-CONFIDENTIAL VERSION
                                         HAS BEEN DELETED


    Addendum, p. 9 n.44; Importers' Joint Rebuttal Submission (Dec. 21, 2020) at 1, Part I, and

    Exhibit 1, C.R. 812-819, P.R. 678. While the Importers provided this list in December 2020, the

    data provided was only from January 2019 to April 2020, allegedly because Kingtom's account

    had not been worked out since that time. Importers' Joint Rebuttal Submission at Part I. The

    Importers (and Kingtom) provided selective information for only aportion of the POI. It is also

    unclear how R&R could verify the information related to certainsuppliers against the documents

    that Kingtom provided in EAPA 7348 because the Importers claimed Kingtom transacted with

    those suppliers after reporting in EAPA 7348.    Importers' Joint Rebuttal Submission at Part I.

    Another problem is that for a large number of transactions, the Importers/Kingtom claim that

    Kingtom has a"[                   ]," and did not provide any [                             ]for

    the agency to be able to verify details regarding the purchase, [

            ]. Importers' Joint Rebuttal Submission at Exhibit 1. There were also alarge number of

    alleged purchases of [                    ] that the Importers/Kingtom claim that Kingtom

    purchased from [                                                ]," allegedly [

                               ]. Importers' Joint Rebuttal Submission at Exhibit 1. There appears

    to be no way that R&R could have verified these purchases. This submission does not resolve

    the discrepancies with respect to Kingtom's suppliers.

           This submission also demonstrates that Kingtom did not provide complete information

    when first asked in EAPA 7348. While TRLED requested that Kingtom identify "the roles of all

    parties involved in sourcing, manufacturing, selling, transporting, and completing purchasing

    transactions and explain each party's role, including selling/buying agents," it did not identify

    [ ]suppliers that the agency found in Kingtom's bank statements, while it identified others.

    TRLED Determination at 7; EAPA 7348 Determination at 6-7; Kingtom RFI Response Narrative




                                                    25
              Case 1:21-cv-00337-RKE Document 83               Filed 04/26/23    Page 35 of 44

Consol. Ct. No. 21-00337            BUSINESS PROPRIETARY INFORMATION       NON-CONFIDENTIAL VERSION
                                             HAS BEEN DELETED


    at 4-7.    [                     ]suppliers that TRLED found [                        ]this new list.

    Importers' Joint Rebuttal Submission at Exhibit 1.           Kingtom should have [

                           ]. That Kingtom did not do so further contributes to the unreliability of its

    submissions.

              Raw Materials

              Regulations and Ruling erred in dismissing the discrepancies with respect to Kingtom's

    aluminum ingot and scrap purchases. These discrepancies indicated that Kingtom did not have

    the necessary raw materials to produce the claimed volume of extrusions. Specifically, TRLED

    had explained that Kingtom had reported approximately the [                      ]of aluminum ingot

    and scrap for two years but reported [                        ]theoretical production volumes.

          Year                Aluminum           Aluminum           Theoretical          Export Volume
                              Ingot (lb.)        Scrap (lb.)         Production               (lb.)
                                                                    Volume (lb.)
          2019                E          ]       E           ]         E         ]         E          ]

          2018                E          ]       E           ]         E         ]         E          ]



    TRLED Determination at 12.          In addition, TRLED also found Kingtom's reported ingot and

    scrap purchases unreliable because they were inconsistent with the typical proportions required

    to produce abillet. Id.       AEFTC had provided an industry expert declaration, which explained

    that the typical proportions required to produce a billet are approximately 69 percent scrap

    aluminum, 30 percent primary aluminum, and 1 percent additional alloys.                Id.; Allegation

    Narrative at 20; Allegation Exhibits at Exhibit 3.       This expert was [                     ]of an

    aluminum extruder that [                                                                        ] and

    previously worked as [                           ]at [

                                                      ], with more than [            ]of experience in the




                                                     26
           Case 1:21-cv-00337-RKE Document 83                  Filed 04/26/23   Page 36 of 44

Consol. Ct. No. 21-00337         BUSINESS PROPRIETARY INFORMATION      NON-CONFIDENTIAL VERSION
                                          HAS BEEN DELETED


    extrusion industry [            ]. Allegation Exhibits at Exhibit 3. As TRLED explained, there

    should be significantly more scrap than primary aluminum, not [                           ]over a

    two-year period, further undermining the claim that Kingtom manufactured the claimed

    extrusions. TRLED Determination at 12.

           R&R now opines that Kingtom collected aluminum scrap by-product from its production,

    and that this would lower the amount of scrap that Kingtom would need to purchase and would

    explain the discrepancy between raw materials purchased and used. Remand at 9. R&R did not

    actually analyze the issue, however.      The agency references a sample bill of materials that

    Kingtom compiled, listing [                                                       ], in addition to

    [                           ]. Kingtom RFI Response at 27, Exhibit 32. Clearly, R&R could not

    have evaluated based on this information whether Kingtom actually had scrap production in

    sufficient quantities to support its claimed production.

           Financial Transactions

           Regulations and Ruling erred in dismissing the discrepancies between Kingtom's bank

    statements and its account receivable records or the bank statements of certain importers.

    Remand at Addendum, p. 6 (citing TRLED Determination at 15).                These were additional

    discrepancies that TRLED had found that further cast doubt on the overall reliability of

    Kingtom's and the Importers' responses. TRLED Determination at 14. R&R now opines that a

    majority of the differences in the Importers' payment amounts and the amount deposited into

    Kingtom's bank account are small figures. Remand at Addendum, p. 6. The agency notes that

    Kingtom's bank statements and transaction summary show that the bank charged transaction

    fees. Id. R&R does not claim that all the differences are solely due to bank transaction fees, and

    the agency does not appear to have done the analysis. Id. Without doing so, R&R again faults




                                                     27
           Case 1:21-cv-00337-RKE Document 83               Filed 04/26/23     Page 37 of 44

Consol. Ct. No. 21-00337          BUSINESS PROPRIETARY INFORMATION    NON-CONFIDENTIAL VERSION
                                           HAS BEEN DELETED


    TRLED for not following up on these discrepancies. Again, TRLED reasonably determined —

    given the large number of discrepancies on a wide range of critical issues — that there is

    substantial evidence in support of a conclusion that Kingtom did not manufacture the claimed

    extrusions.   R&R's reversal without doing the necessary analysis itself is arbitrary, capricious,

    and an abuse of discretion.

           Production Activity

           R&R improperly discounted the evidence indicating that Kingtom had minimal

    production provided by AEFTC and contained in the U.S. Government site visit report.         R&R

    opines that the industry expert declarations provided by AEFTC and the U.S. Government report

    only provide snapshots of Kingtom's facility.        Remand at Addendum, pp. 7-8.          R&R's

    conclusion is unreasonable and does not follow from the facts. That different parties observed

    Kingtom's facility at different times ([

         ]) and each time observed minimal production ([

                                  ]) supports aconclusion that Kingtom had minimal production. See

    Allegation Exhibits at Exhibit 3, Exhibit 9; Attaché Report at 1.    While not acknowledged by

    R&R, there was another visit to Kingtom's facility in [              ], which also found minimal

    production (only one press operating with the others idle or down for repairs).       EAPA 7348

    Determination at 1. And contrary to R&R's suggestion, the declarations that AEFTC provided

    were sworn affidavits that provided extensive detail demonstrating the qualifications of the

    declarants and the reliability of those declarations. See Allegation Exhibits at Exhibit 3, Exhibit

    9.




                                                    28
                  Case 1:21-cv-00337-RKE Document 83            Filed 04/26/23     Page 38 of 44

Consol. Ct. No. 21-00337              BUSINESS PROPRIETARY INFORMATION      NON-CONFIDENTIAL VERSION
                                               HAS BEEN DELETED


              Size Capabilities

                  R&R improperly dismissed the discrepancies with respect to the sizing capabilities of

    Kingtom's extrusion presses, which suggested that Kingtom could not produce the sizes of the

    extrusions that it exported. R&R opines that TRLED relied upon ageneralized statement from

    AEFTC's expert to find that some of the presses at Kingtom could not produce the size of

    extrusions exported to the United States and that there is no evidence that the limitations on the

    production capabilities of Kingtom's presses were tested and proven correct.              Remand at

    Addendum, p. 6. AEFTC provided adeclaration from an industry expert that attested that based

    on their knowledge of the industry and the extrusion presses that were observed operating at

    Kingtom's facility, Kingtom would not be able to produce all the extrusions in the necessary

    sizes.   14    For example, the size of the aluminum profile on any given press is normally 1.5 inches

    less than the size of the press diameter, in terms of width. Allegation Exhibits at Exhibit 3. But

    evidence showed that in [                      ], Kingtom sold [                        ]profiles that

    are 7inches wide. Allegation Exhibits at Exhibit 3. To produce a7-inch profile, a9-inch press

    or larger would be needed.          Allegation Exhibits at Exhibit 3.    But as of [                ],

    Kingtom only had 4-, 5-, and 6-inch presses, in addition to the cast house only having tables

    designed to produce billets for these size presses. Allegation Exhibits at Exhibit 3. Cast house

    tables are not easily changed without significant capital expenditures.       Allegation Narrative at

    11. This evidence further raised questions as to Kingtom's capacity and capability, in addition

    toother record evidence, indicating that Kingtom did not manufacture the claimed extrusions.



    14        AEFTC provided a declaration from [                              ], [                  ] of
    [                       ], an aluminum extruder that is amember of the Aluminum Extruders
    Council, and who previously worked as [                       ]at [
                                                                       ]. Allegation Exhibits at
    Exhibit 3.



                                                        29
            Case 1:21-cv-00337-RKE Document 83                 Filed 04/26/23      Page 39 of 44

Consol. Ct. No. 21-00337                                                  NON-CONFIDENTIAL VERSION


            In sum, in addition to the erroneous conclusion that the discrepancies cannot provide

    substantial evidence of evasion, R&R erroneously dismissed of these discrepancie.                R&R's

    review of these critical issues was cursory, and it made factual findings that are unsupported by

    the record or without analyzing the issue.

            C.      CBP Acted Arbitrarily in Not Applying Adverse Inferences Against Parties
                    that Refused to Provide Requested Information

            CBP acted arbitrarily in not applying adverse inferences against parties that refused to

    provide requested information in the remand proceeding. The statute authorizes CBP to "use an

    inference that is adverse to the interests of' the party alleged to have imported the merchandise at

    issue through evasion if the agency finds that the party "has failed to cooperate by not acting to

    the best of {its} ability to comply with arequest for information."        19 U.S.C. § 1517(c)(3)(A).

    In making an adverse inference, the statute permits CBP to rely on the allegation pursuant to

    which the investigation was initiated; a determination by CBP in another investigation,

    proceeding, or other action regarding evasion; or any other available information.         19 U.S.C. §

    1517(c)(3)(C). Here, where parties refused to provide information expressly requested by CBP,

    despite multiple opportunities, the parties clearly failed to cooperate to the best of their abilities.

            In remanding the proceeding to the agency, the court noted that the Government

    requested the remand, in part, to permit CBP to "provide the parties with public summaries of

    business confidential information in the administrative record." Remand Order. As part of the

    remand proceeding, TRLED requested that the parties submit revised public versions of their

    submissions    made    in the underlying      investigation that    contained business      confidential

    information that include public summaries with sufficient detail to permit a reasonable

    understanding of the substance of the bracketed information, in accordance with 19 C.F.R.

    §165.4(a)(2). Remand at 8. CBP has revised its practice with respect to public summaries, to



                                                       30
           Case 1:21-cv-00337-RKE Document 83               Filed 04/26/23    Page 40 of 44

Consol. Ct. No. 21-00337                                             NON-CONFIDENTIAL VERSION


    not allow parties to simply redact business confidential information in the public versions of

    documents, i.e., include brackets with ablank space in between, to comply with certain holdings

    of this Court. See AEFTC Remand Written Arguments (Nov. 7, 2022), P.R.R. 148 at 4; Royal

    BrushIl/ifg., Inc. v. United States, 483 F.Supp.3d 1294 (Ct. Int'l Trade 2020) ("Royal Brush P');

    Royal Brush 11/fg., Inc. v. United States, 545 F.Supp.3d 1357 (Ct. Int'l Trade 2021) ("Royal

    Brush 1P). 15    CBP had not yet fully imposed this requirement during the underlying

    investigation.

           In its request for revised public versions of submissions, TRLED also noted that it would

    provide parties with the opportunity to submit rebuttal information and written arguments in

    response to the revised public versions. Letter from TRLED, re: H&E Home Inc. et al v. United

    States, CIT No. 21-337 (Sept. 16, 2022), P.R.R. 4 at 2.    All parties initially submitted revised

    public versions of the requested documents. Remand at 9-10. However, TRLED found that four

    parties — Industrias, JL, Puertas, and Global — failed to include public summaries that satisfied

    the requirements of 19 C.F.R. § 165.4(a)(2). Remand at 10. TRLED explained that (1) the sales

    documents and other company documents lacked adequate public summaries and (2) business

    confidential information was redacted in the narrative sections of each submission and did not

    have the requisite corresponding public summaries. Remand at 10. As such, TRLED rejected

    those submissions but provided an opportunity to submit corrected public versions of their



    15     In remanding an EAPA proceeding for CBP to comply with the public summary
    requirement of 19 C.F.R. § 165.4, in Royal Brush I, this Court observed, inter alia, that "the
    public version of Dixon's Allegation redacts the confidential information in the narrative portion
    and omits the exhibits but does not separately summarize the confidential information in apublic
    document." See Royal Brush I, 483 F.Supp.3d at 1307. CBP took similar steps in the remand
    proceeding in Royal Brush that it did here —requiring parties to submit revised public summaries
    and itself providing revised public summaries and then allowing parties to the investigation to
    submit rebuttal information and written arguments pertinent to the revised public versions. See
    Royal Brush JI, 545 F.Supp.3d at 1364-65.



                                                   31
            Case 1:21-cv-00337-RKE Document 83              Filed 04/26/23    Page 41 of 44

Consol. Ct. No. 21-00337                                             NON-CONFIDENTIAL VERSION


    submissions. Remand at 10. At the request of SL, Industrias, and Puertas, TRLED extended the

    deadline to submit the corrected documents. Remand at 10.

            However, all four parties failed to submit the requested documents.        Remand at 10.

    Instead of submitting the requested documents, the importers sought assurances from the U.S.

    Department of Justice attorney ("DOJ"), i.e., CBP's outside counsel, that there would be no

    application of adverse inferences even if they did not submit the corrected documents. AEFTC

    Remand Written Arguments at 5. However, DOJ is an outside agency of the Government and

    had no authority to make decisions for CBP under the EAPA statute.              TRLED reasonably

    requested that parties submit revised public versions of their submissions with public summaries,

    given that one of the three reasons for the remand was for the agency to "provide the parties with

    public summaries of business confidential information in the administrative record."     Remand

    Order at 2. It was unreasonable to not allow TRLED to require compliance with its request, and

    to prevent the agency from applying adverse inferences for afailure to do so.

            Given the clear failure to cooperate to the best of their abilities, AEFTC argued that the

    agency should apply adverse inferences against these parties.          AEFTC Remand Written

    Arguments at 3-6; AEFTC Draft Remand Comments (Dec. 9, 2022), P.R.R. 151 at 7-8. TRLED

    declined to do so, even thought it had warned these parties that the failure to resubmit corrected

    public versions of the requested documents would result in adverse inferences.        Email from

    TRLED, (Oct. 14, 2022), P.R.R. 142. First, TRLED explained that the statute does not require

    the agency to apply adverse inferences and that the decision to do so is discretionary. Remand at

    18.   Second, TRLED concluded that the failure to resubmit revised public summaries did not

    create agap in the administrative record because CBP was not requesting new information but

    revised public versions of information already on the record.      Remand at 18.      In addition,




                                                    32
             Case 1:21-cv-00337-RKE Document 83             Filed 04/26/23     Page 42 of 44

Consol. Ct. No. 21-00337                                              NON-CONFIDENTIAL VERSION


    TRLED stated that to apply adverse inferences would be futile as CBP already reviewed and

    considered confidential versions of all documents and the parties already have access to such

    documents under the judicial protective order. Remand at 18-19. Third, TRLED explained that

    it was addressing procedural deficiencies on the record while R&R was revisiting and

    reweighing the record evidence in light of CBP's remand determination in EAPA 7348. Remand

    at 19.   If the above is true, CBP wasted the remaining parties' resources by requiring them to

    submit revised public versions of their record documents.     To require select parties to comply

    with the agency's requests for information but not others is arbitrary, capricious, and an abuse of

    discretion.

             Despite not applying adverse inferences, the agency further justified its request for

    revised public versions.     TRLED explained that the purpose was to rectify procedural

    deficiencies in the underlying investigation and for the parties to the investigation to access the

    additional public information that the regulations require and were not initially provided.

    Remand at 24. Thus, CBP's refusal to apply adverse inferences does not follow from the facts or

    the agency's own reasoning, and was arbitrary, capricious, and an abuse of discretion.




                                                    33
           Case 1:21-cv-00337-RKE Document 83                 Filed 04/26/23    Page 43 of 44

Consol. Ct. No. 21-00337                                               NON-CONFIDENTIAL VERSION


    VII.   CONCLUSION

           For the foregoing reasons, AEFTC respectfully requests that the Court find CBP's


    remand to be arbitrary, capricious, and an abuse of discretion and remand the decision for


    reconsideration consistent with the Court's opinion.


                                                           Respectfully submitted,


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                                                           Trade Committee
    Dated: April 25, 2023




                                                   34
       Case 1:21-cv-00337-RKE Document 83           Filed 04/26/23    Page 44 of 44




                            CERTIFICATE OF COMPLIANCE


       Pursuant to Chamber Procedure 2(B)(1), the undersigned certifies that these comments


comply with the word limitation requirement. The word count for the Aluminum Extrusions Fair


Trade Committee's Comments in Opposition to Remand Redetermination, as computed by


Wiley Rein LLP's word processing system (Microsoft Word 2016), is 9,922 words.



                               /s/ Robert E. DeFrancesco, 11I
                                  (Signature of Attorney)


                                 Robert E. DeFrancesco, III
                                    (Name of Attorney)


                        Aluminum Extrusions Fair Trade Committee
                                    (Representative Of)


                                       April 25, 2023
                                           (Date)
